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                                                                             2024 Jun-10 PM 05:42
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA



                   In the United States District Court for the
                Northern District of Alabama, Southern Division

SMATrealestate, LLC,
East West Homes, LLC, and
Earline’s Homes, LLC,
  Plaintiffs,
                                                     2:24-CV-00630
                   v.
                                                    JURY DEMAND
Constitution Credit, LLC
Constitution CR LLC
REO Lend I LLC and
Ricardo Sims,
   Defendants.


    PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION TO DISMISS


      Plaintiffs SMATrealestate, LLC, East West Homes, LLC, and Earline’s

Homes, LLC respond to Defendants’ Motion to Dismiss (Doc. 3) by filing an

Amended Complaint pursuant to Fed. R. Civ. P. 15(a)(1)(B). (Doc. 8).


      The filing of Plaintifffs’ First Amended Complaint procedurally and

substantively moots the arguments raised in Defendants’ Motion to Dismiss.

Therefore, the Motion is due to be DENIED.


                                     Respectfully submitted,

                                     /s/ Tripp Watson
                                     Joseph E. “Tripp” Watson
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                           CERTIFICATE OF SERVICE
      Plaintiffs hereby certify that they have served the Defendants below via
electronic notice through ECF on their counsel of record:

Constitution Credit, LLC
500 Post Rd E
Westport, CT, 06880

Constitution CR, LLC
500 Post Rd E
Westport, CT, 06880

REO Lend I, LLC
2389 Main St., STE 100
Glastonbury, CT 06033

Ricardo Sims
8208 Scenic Turn
Boca Raton, FL 33433



                                    /s/ Tripp Watson
                                    Joseph E. “Tripp” Watson




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